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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES CONFERENCE OF
CATHOLIC BISHOPS;

                         Plaintiff,

v.

UNITED STATES DEPARTMENT OF
STATE;
                                                     Case No. 1:25-cv-465
MARCO RUBIO, in his official capacity as
Secretary of State, Department of State;             MEMORANDUM IN SUPPORT OF
                                                     MOTION FOR A TEMPORARY
BUREAU OF POPULATION, REFUGEES,                      RESTRAINING ORDER AND
AND MIGRATION, Department of State;                  PRELIMINARY INJUNCTIVE
                                                     RELIEF
JENNIFER DAVIS, in her official capacity as
Principal Deputy Assistant Secretary, Bureau
of Population, Refugees, and Migration,
Department of State;

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;

ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of Health and Human
Services, Department of Health and Human
Services;

                          Defendants.
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                                         INTRODUCTION

       This case involves the State Department’s sudden and highly disruptive suspension of

funding for the initial resettlement of refugees that the Department has been providing uninter-

rupted for decades. Carrying out a congressional directive, the State Department provides fund-

ing for lawfully admitted, government-vetted refugees for up to their first ninety days in the

United States by entering into cooperative agreements with private resettlement agencies. For

decades, the United States Conference of Catholic Bishops (“USCCB”) has entered into such

agreements annually. A federal statute and the cooperative agreements themselves require the

government to provide prompt and adequate funding for any refugees that the government assigns

to its resettlement partners, including USCCB.

       Yet three weeks ago, without any notice, the government indefinitely suspended that fund-

ing. The government did not merely suspend future funding. It also suspended funding for the

thousands of refugees that the government has already assigned to its resettlement partners. At

the time of the funding suspension, USCCB had almost 7,000 refugees already assigned to it who

urgently need money for food, shelter, emergency medical care, job training, and English-lan-

guage education, among other things. It costs USCCB and its partners millions of dollars per

week to care for those refugees. Because of that shortfall, USCCB has been forced to cut its staff

and withhold payments from its partners. Unless the government’s suspension is enjoined, fur-

ther cuts will be needed, USCCB’s reputation will be irreparably tarnished, and refugees will go

without essential care.

       The government’s funding suspension is unlawful. It contravenes appropriations-related

statutes, including the Impoundment Control Act, and flouts the Constitution’s vesting of the

power of the purse in Congress. It is also arbitrary and capricious because the government failed



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to consider the predictably disastrous consequences of its suspension, the serious reliance inter-

ests of USCCB and other resettlement partners, and obvious alternatives—including suspending

only future funding or waiting to take any action until the government completed a comprehen-

sive review of the program. To top it off, the government offered no reasonable explanation for

its suspension and violated its own regulations. And if this were not enough, the Refugee Funding

Suspension constitutes a substantive rule that was not promulgated through notice and comment.

        Because USCCB is likely to prevail on the merits of its claims, is suffering irreparable

harm, and the equities and public interest favor relief, this Court should grant a temporary re-

straining order enjoining the government from taking any action to enforce or implement the

funding suspension against USCCB, and requiring Defendants to reimburse USCCB for costs

incurred pursuant to its cooperative agreements. USCCB further requests that this Court issue a

schedule for expedited briefing on a preliminary injunction.

                                         BACKGROUND

I.      USCCB Cared For Refugees In The United States For Decades Before It Partnered
        With The Government

        The Catholic Church has cared for refugees since the earliest days of Christianity. See The

U.S. Refugee Admissions Program and the Catholic Church, USCCB Off. of Pol’y & Advoc. (Jan.

26, 2025), https://perma.cc/D7FC-WKKL. The “duty of giving foreigners a hospitable reception”

is “imposed by human solidarity and by Christian charity.” Pope Paul VI, Populorum Progressio

(Mar. 26, 1967). “Jesus Christ, loving everyone with a universal love, educates us in the permanent

recognition of the dignity of every human being, without exception.” Letter of the Holy Father

Francis to the Bishops of the United States of America (Feb. 10, 2025), https://perma.cc/38MM-

RR4Z.




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       In the United States specifically, the Church’s refugee-resettlement efforts long predate its

partnership with the federal government. The Church first coordinated efforts to receive and inte-

grate those displaced by World War II in dioceses across the United States, and later welcomed

hundreds of thousands of refugees fleeing communist persecution in the Soviet Union, Hungary,

Vietnam, and Cuba. Catholic Ministries Serving Migrants and Refugees, USCCB (last visited

Feb. 14, 2025), https://perma.cc/ZSD8-879C. Since 1965, USCCB and its predecessor organiza-

tion, the U.S. Catholic Conference, have carried out this institutional mission in the United States.

Decl. of William Canny ¶ 6 (“Decl.”). USCCB does so not because all refugees are Catholic

(many are not), “but because we are Catholic.” Cardinal Blase J. Cupich, Setting the record

straight (Feb. 5, 2025), https://perma.cc/TZM6-VBZ4; Decl. ¶ 6. In this way, USCCB discharges

the mandate of the Gospel: “I was hungry and you gave me food, I was thirsty and you gave me

drink, a stranger and you welcomed me.” Cupich, supra (quoting Matthew 25:35).

II.    Congress Has Required Funding For Resettlement Of Admitted Refugees For
       Decades

       For more than sixty years, Congress likewise has recognized that refugee assistance and

resettlement is not just a moral imperative, but also is essential to this country’s interests. In 1962,

in response to the increase of refugees fleeing communist countries, Congress passed the Migration

and Refugee Assistance Act, which authorized the appropriation of funds to address “urgent refu-

gee and migration needs.” Pub. L. No. 87-510, § 2(c), 76 Stat. 121, 122 (1962) (codified as

amended at 22 U.S.C. § 2601(c)); see also Refugee Timeline, USCIS (last updated Jan. 24, 2025),

https://perma.cc/F8PM-H27V. In 1980, Congress enacted the Refugee Act, Pub. L. No. 96-212,

94 Stat. 102 (1980) (codified at 8 U.S.C. § 1521 et seq.). That Act declared that “it is the historic

policy of the United States to respond to the urgent needs of persons subject to persecution in their

homelands,” including “efforts to promote opportunities for resettlement.” § 101, 94 Stat. at 102.


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Consistent with that purpose, the Refugee Act of 1980 created a statutory framework for the ad-

mission and resettlement of refugees known as the U.S. Refugee Admissions Program.

       Under the U.S. Refugee Admissions Program, individuals outside the United States who

have been persecuted or fear persecution on account of race, religion, nationality, or certain other

grounds can seek legal admission into the United States. See 8 U.S.C. §§ 1101(a)(42), 1157(c).

Refugees are screened abroad for eligibility and admissibility—a rigorous process that involves

security and biometric checks, interviews, and medical screening, among other things. Refugee

Processing and Security Screening, USCIS (last visited Feb. 14, 2025), https://perma.cc/4A8C-

EQRZ; United States Refugee Admissions Program Flowchart, USCIS & Bureau of Population,

Refugees, and Migration (Sept. 18, 2024), https://perma.cc/F5PJ-ZV3X. If approved as refugees,

the individuals are admitted into the United States. 8 U.S.C. §§ 1157(c)(1), 1181(c). The President

determines the maximum number of refugees to be admitted each fiscal year. Id. § 1157(a)(2),

(3). Since 1990, an average of approximately 65,000 refugees have been admitted per year. Off.

of Homeland Sec. Stat., Dep’t of Homeland Sec., Refugees: 2023, at 4 (Nov. 2024),

https://perma.cc/8NAF-ST46.

       A core component of the U.S. Refugee Admissions Program is federal “domestic assis-

tance” for the resettlement of newly arrived refugees, in partnership with private non-profit organ-

izations. 8 U.S.C. § 1522. Rather than rely entirely on private charitable organizations to provide

resettlement assistance, Congress made it the “policy of the United States” to commit federal funds

in order to “promote opportunities for [refugee] resettlement.” Refugee Act § 101, 94 Stat. at 102.

       The resettlement program at issue here is the “[p]rogram of initial resettlement.” 8 U.S.C.

§ 1522(b). Under that program, the Secretary of State has been designated by the President to

“make grants to, and contracts with, public or private nonprofit agencies for initial resettlement



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. . . of refugees in the United States.” Id. § 1522(b)(1)(A), (B); see also HIAS, Inc. v. Trump, 985

F.3d 309, 319 n.5 (4th Cir. 2021) (“Since 1981, the Department of State has overseen the pro-

gram.”). Congress has made the same funding available for special immigrant visa (SIV) holders

from Afghanistan—those who assisted the U.S. Mission in Afghanistan and fear reprisals as a

result. See Afghan Allies Protection Act, Pub. L. No. 111-8, § 602(b)(8), 123 Stat. 807, 809 (2009)

(codified in the notes of 8 U.S.C. § 1101). (For simplicity, this memorandum refers to special

immigrant visa holders and refugees collectively as “refugees.”)

       The Secretary of State has charged the Bureau of Population, Refugees, and Migration

(“PRM”) with responsibility for administering the initial-resettlement program. PRM discharges

that responsibility by entering into annual cooperative agreements with resettlement agencies.

There are currently ten resettlement agencies, including USCCB. See United States Refugee Ad-

missions Program Flowchart, supra; Report to Congress on Proposed Refugee Admissions for

Fiscal Year 2024, Dep’t of State (Nov. 3, 2023), https://perma.cc/M4HL-HH2G. Under the coop-

erative agreements, PRM awards specific sums to each resettlement agency to reimburse expenses

the agency incurs supporting refugees for up to the first ninety days they are in the United States.

E.g., Ex. A at 22 (First 2025 Cooperative Agreement with USCCB); Ex. B at 23 (Second 2025

Cooperative Agreement with USCCB). This funding covers critical services, such as housing,

food, and clothing, as well as social, medical, educational, and employment services. Ex. A at 5–

6; Ex. B at 5–6.

       Once PRM enters into these cooperative agreements, the agency has a statutory obligation

to provide adequate initial-resettlement funding for admitted refugees “to the extent of available




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appropriations.” 8 U.S.C. § 1522(a)(1)(A).1 In particular, and among other things, the agency

“shall, to the extent of available appropriations”: (1) “make available sufficient resources for em-

ployment training and placement in order to achieve economic self-sufficiency among refugees as

quickly as possible”; and (2) “provide refugees with the opportunity to acquire sufficient English

language training to enable them to become effectively resettled as quickly as possible.” 8 U.S.C.

§ 1522(a)(1)(A) (emphasis added). Consistent with those statutory commands, State Department

regulations require PRM to make “[p]ayments for allowable costs” incurred by resettlement agen-

cies except in limited circumstances. 2 C.F.R. § 200.305(b)(6) (OMB regulations incorporated by

reference into the State Department’s federal award regulations at 2 C.F.R. § 600.101).

       For decades, on a bipartisan basis, Congress has consistently appropriated funds for refugee

resettlement. In 1985, for example, Congress appropriated $344,730,000 annually to the State

Department for “Migration and Refugee Assistance.” Foreign Relations Authorization Act, Fiscal

Years 1986 and 1987, Pub. L. No. 99-93, § 101, 99 Stat. 405, 407 (1985).2 Congress’s most recent

appropriations have been no different. In 2024, Congress appropriated $3,928,000,000 to imple-

ment, among other things, “the Migration and Refugee Assistance Act of 1962 . . . and other ac-




1
  Although Section 1522(a) names the Director of the Office of Refugee Resettlement at the De-
partment of Health and Human Services, the Director’s statutory obligations with respect to initial
resettlement have been transferred by presidential designation to the Secretary of State under Sec-
tion 1522(b)(1)(B) and delegated to PRM. The Department of Health and Human Services and
Secretary Kennedy are named as defendants out of an abundance of caution, and because HHS’s
Payment Management System is used to make payments to USCCB. See Ex. A at 11.
2
 See also Foreign Relations Authorization Act, Fiscal Years 1994 and 1995, Pub. L. No. 103-236,
§ 104, 108 Stat. 382, 390 (1994) (appropriating about $590,000,000 for the same); Department of
State, Foreign Operations, and Related Programs Appropriations Act, 2015, Pub. L. No. 113-235,
128 Stat. 2130, 2589 (2014) (appropriating $931,886,000 for the same); Additional Afghanistan
Supplemental Appropriations Act, 2022, Pub. L. No. 117-43, 135 Stat. 344, 375 (2021) (appropri-
ating $415,000,000 for fiscal year 2022 to “address humanitarian needs in, and to assist refugees
from, Afghanistan”).

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tivities to meet refugee and migration needs.” Department of State, Foreign Operations, and Re-

lated Programs Appropriations Act, 2024, Pub. L. No. 118-47, 138 Stat. 460, 744 (2024); 135 Stat.

at 375 (appropriating an additional $976,100,000 for special immigrant visa holders from Afghan-

istan, among other things).

        Independent of the statutory scheme requiring the government to adequately fund initial

resettlement for admitted refugees, Congress also has enacted the Impoundment Control Act.

2 U.S.C. §§ 681–88. That Act regulates the Executive Branch’s authority to “defer” the spending

of appropriated funds by imposing substantive limitations and procedural requirements. Id. § 684.

Before the Executive Branch can defer the use of appropriated funds, the Act requires the President

to transmit a “special message” to both houses of Congress with specific details about the proposed

deferral, including the amount to be deferred, the deferral’s duration, “the reasons for the proposed

deferral,” and “the estimated fiscal, economic, and budgetary effect” it will have. Id. § 684(a).

The Act also denies the Executive Branch any ability to defer spending except for three specified

reasons; it forbids deferrals based on policy disagreements with Congress. Id. § 684(b).

III.    USCCB’s Refugee Resettlement Program And Cooperative Agreements

        Each year since the enactment of the Refugee Act of 1980, USCCB has entered into agree-

ments with the federal government to provide initial-resettlement services for refugees. USCCB

receives and coordinates the distribution of PRM awards for initial resettlement through its Mi-

gration & Refugee Services. Decl. ¶ 5. USCCB partners with subrecipients, most of whom are

local Catholic Charities, across the United States to accomplish this work. Id. ¶ 7. These partners

are strategically chosen in concert with the State Department and state refugee coordinators to

achieve goals such as partnering with subrecipients in locations that will facilitate family reuni-

fication efforts. Id.



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       Today, USCCB runs the largest non-governmental refugee-resettlement program in the

United States. Resettlement Services, USCCB (last visited Feb. 14, 2025), https://perma.cc/

2DPN-M47N. USCCB currently serves around 17% of refugees being resettled in the United

States. Decl. ¶ 6. And since 1980, USCCB has provided initial-resettlement services to more

than 930,000 refugees. Id. ¶ 7.

       In providing this assistance, USCCB has consistently devoted more resources than it re-

ceives in related federal funding. In 2023, for example, USCCB paid $4 million more on its

refugee-resettlement and related programs than it received from the federal government. See

KPMG, United States Conference of Catholic Bishops and Affiliates: Consolidated Financial

Statements with Supplemental Schedules, December 31, 2023 and 2022 at 29 (Aug. 16, 2024),

https://perma.cc/59YQ-TH5L (recording over $134,000,000 in expenses for migration and refu-

gee services against only $130,000,000 in revenue). And those numbers do not account for the

additional cash, in-kind contributions, or volunteer services provided by local Catholic Charities

and other subrecipients. Decl. ¶ 18.

       For Fiscal Year 2025, USCCB entered into two cooperative agreements with PRM award-

ing USCCB around $65 million for initial refugee resettlement. One of the agreements covers

refugees; the other covers refugees and special immigrant visa holders from Afghanistan, who

are treated like refugees for initial-resettlement purposes. In all other relevant respects, the terms

of the cooperative agreements are substantially the same. See Ex. A at 4; Ex. B at 4. Both

cooperative agreements run from October 1, 2024 to September 30, 2025.

       Both cooperative agreements require USCCB to “[a]ssume responsibility for sponsorship

of the refugees assigned to” it “under this agreement.” See Ex. A at 38. On the day a refugee is

admitted, USCCB must ensure that each refugee is met at the airport, transported to their home,



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and provided a first meal as well as food and clothing for their immediate needs. Id. at 39.

USCCB also must ensure that “refugees assigned to it” are provided the required home visits

within 72 hours of arrival, and that the housing provided to the refugees is safe, sanitary, and

adequately furnished. Id. at 39–41. USCCB must then assist refugees with, among other things,

applications for social security cards, health insurance and medical care, English-language pro-

grams, cultural orientation, and employment services during the first ninety days they are in the

United States. Id. at 42–49.

IV.    The President And Secretary Of State Recently Issued Orders Suspending Foreign
       Aid And Refugee Admissions

       Starting on January 20, 2025, the President and the Secretary of State issued orders sus-

pending foreign aid and refugee admissions into the United States. But none of those orders

expressly suspends funding for the domestic resettlement of admitted refugees.

       On January 20, President Trump signed an executive order titled “Reevaluating and Rea-

ligning United States Foreign Aid.” Exec. Order No. 14,169, 90 Fed. Reg. 8619 (Jan. 20, 2025)

(“Foreign Aid Executive Order”). The Foreign Aid Executive Order directs relevant Executive

Branch officials to institute a “90-day pause in United States foreign development assistance”

pending review for programmatic efficiency and policy alignment, subject to waivers authorized

by the Secretary of State for specific programs. Id. § 3(a). On the same day, President Trump

signed an executive order titled “Realigning the United States Refugee Admissions Program.”

Exec. Order No. 14,163, 90 Fed. Reg. 8459 (Jan. 20, 2025) (“Refugee Executive Order”). The

Refugee Executive Order suspends the entry of new refugees into the United States with narrow

exceptions.

       On January 24, Secretary of State Rubio issued an order to all State Department diplo-

matic and consular posts stating that “[c]onsistent with” the Foreign Aid Executive Order, “all


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new obligations of funding . . . for foreign assistance programs funded by or through the Depart-

ment and USAID” would be paused “pending a review.” Memorandum from Secretary of State

to All Diplomatic and Consular Posts, Dep’t of State (Jan. 24, 2025), https://perma.cc/J26T-

VCJR (“Rubio Memo”). The Rubio Memo instructed that for “existing foreign assistance

awards, contracting officers and grant officers shall immediately issue stop-work orders, con-

sistent with the terms of the relevant award, until such time as the Secretary shall determine,

following a review.” Id. The Rubio Memo also provided for waivers for limited circumstances.

Id.

V.     The Government Abruptly Suspended Funding For Domestic Refugee Resettlement

       Although none of the President’s or Secretary of State’s orders mentions (let alone pauses)

funding for the resettlement of refugees already admitted into the United States, the State Depart-

ment recently decided to suspend domestic refugee-resettlement funding as well (the “Refugee

Funding Suspension”).

       On January 24, to implement the Refugee Funding Suspension, PRM sent materially iden-

tical suspension letters to its resettlement agencies, including USCCB. See, e.g., Complaint

¶¶ 196–97, Pacito v. Trump, No. 2:25-cv-255 (W.D. Wash. 2025). The two-page letter USCCB

received stated that “consistent with” the Foreign Aid Executive Order, awards pursuant to

USCCB’s cooperative agreements with the State Department were “immediately suspended as

of January 24, 2025” “pending a Department-wide review of foreign assistance programs.” Ex. C

(Suspension Letter). The suspension letter instructed that immediately upon receipt, USCCB

“must stop all work under the award(s) and not incur any new costs after” January 24 and “cancel

as many outstanding obligations as possible.” Id.

       The suspension letter provided only two perfunctory reasons for the sudden suspension.

First, the letter stated that the suspension was “[c]onsistent with the President’s Executive Order
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on Reevaluating and Realigning United States Foreign Aid,” without addressing how domestic

refugee resettlement constitutes foreign aid. Id. Second, the letter stated that the award to

USCCB “may no longer effectuate agency priorities,” without addressing what the agency’s pri-

orities are or why the awards may no longer effectuate those priorities. Id. The letter did not

explain why the government had elected to suspend funding pending its reevaluation of priorities

rather than conduct that review before cutting off funding midstream.

       The suspension letter also stated that USCCB could “submit payment requests for legiti-

mate expenses incurred prior to the date of” the letter “or legitimate expenses associated with”

the funding suspension. Id. But the government has to date refused to reimburse USCCB for

more than $13 million in reimbursement funds for initial-resettlement services rendered before

January 24—a refusal that constitutes an additional tacit component of the Refugee Funding Sus-

pension.

       On January 28, USCCB responded to PRM. USCCB explained that its resettlement pro-

gram services “includ[e] the provision of housing support, emergency food assistance, and emer-

gency medical care to newly arrived refugees and Special Immigrant Visa (SIV) holders who

have been processed and approved for resettlement in the United States by the federal govern-

ment.” Ex. D (USCCB Letter to PRM). USCCB urged that its programs were consistent with

the “Administration’s goals to make the United States safer and stronger, as it operates domesti-

cally to ensure that newly arrived refugees and SIV holders are able to integrate successfully into

local communities.” Id. USCCB also explained that it did not understand its awards to represent

“new costs” and that the organization is entitled to reimbursement for all costs for serving “refu-

gees and SIV holders in their initial 90-day . . . service periods.” Id. USCCB also inquired about

“legitimate expenses” it incurred before January 24, 2025. Id.



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       On January 31, 2025, in providing an update about payment requests, PRM stated that the

suspension was issued in order to “compl[y] with the [Foreign Aid] Executive Order” and di-

rected USCCB to “abide by the notice of suspension issued to [the] organization.” Ex. E (PRM

Update on Payment Requests). PRM did not provide any further explanation for the Refugee

Funding Suspension. “Although there has been some email traffic since then between USCCB

and PRM, e.g., Ex. F, PRM has not provided any further explanation for its funding suspension.”

Decl. ¶ 14 (citing email exchange on February 14, 2025).

VI.    The Refugee Funding Suspension Has Inflicted Swift And Irreparable Harm

       On January 25, 2025, the day after USCCB received the suspension letter, there were

6,758 refugees that had been assigned by the federal government to USCCB’s care and who had

been in the United States for ninety days or less. Decl. ¶ 15. In the ordinary course, USCCB

receives subrecipient reimbursement requests for refugee-resettlement services rendered and sub-

mits reimbursements to PRM’s grants office. Id. ¶ 8. Those funds are typically available to

USCCB within 24 to 48 hours. Id. USCCB then pays its subrecipients for the refugee-resettle-

ment services provided pursuant to the cooperative agreements and pays its own administrative

costs, operating costs, and the salaries of resettlement staff provided for in the agreements. Id.

       As a result of the Refugee Funding Suspension, however, USCCB has not been reim-

bursed for services provided to the thousands of refugees that have been assigned to it. USCCB

has not been paid for services provided as far back as November 2024, or for services rendered

after January 24 to the refugees already allocated to USCCB’s care for their initial-resettlement

period. Decl. ¶ 16. USCCB is currently awaiting approximately $13 million of unpaid reim-

bursements and currently owes an additional $11.6 million to its subrecipients that it is unable to

reimburse. Id. Those numbers will rise by millions of dollars every week that the Refugee Fund-

ing Suspension remains in effect. Id.
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       The consequences of that funding shortfall have been predictably devastating. Because of

that shortfall, on February 7, USCCB was forced to give four-weeks’ notice of planned termination

to 50 staff members in its Migration & Refugee Services office, more than half of its refugee-

resettlement staff. Decl. ¶ 17. And USCCB will need to lay off additional staff if the funding

suspension continues. Id. USCCB also has been unable to process reimbursements to subrecipi-

ents, who likewise have been forced to make layoffs. And although USCCB and its subrecipients

so far have been able to maintain resettlement services for the refugees in their care, they soon will

be unable to do so. Id. ¶ 22. If that happens, refugees may lose access to shelter, food, urgent

medical care, English-language learning, job-training, and other services during their first days in

the country.

                                             ARGUMENT

       To obtain a temporary restraining order, “a movant ‘must establish [1] that he is likely to

succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of preliminary

relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in the public

interest.’” Chef Time 1520 LLC v. Small Bus. Admin., 646 F. Supp. 3d 101, 109 (D.D.C. 2022)

(quoting Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014)); see also Hall v. Johnson, 599

F. Supp. 2d 1, 3 n.2 (D.D.C. 2009) (standards for temporary restraining orders and preliminary

injunctions are the same). It is the movant’s burden “‘to show that all four factors, taken together,

weigh in favor of the injunction.’” Chef Time, 646 F. Supp. 3d at 109 (quoting Abdullah v. Obama,

753 F.3d 193, 197 (D.C. Cir. 2014)). Because all four factors favor relief, this Court should enter

a temporary restraining order and preliminary injunction enjoining enforcement of the Refugee

Funding Suspension and requiring Defendants to reimburse USCCB for costs incurred pursuant to

its cooperative agreements.



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I.     USCCB Is Likely To Prevail On Its Claims Against The Government

       To be entitled to injunctive relief, a plaintiff “need only show likelihood of success on one

claim.” Kirwa v. Dep’t of Def., 285 F. Supp. 3d 21, 35 (D.D.C. 2017). Here, the Refugee Funding

Suspension is unlawful for multiple, independent reasons: It contravenes appropriations-related

statutes, including the Impoundment Control Act; undermines the Constitution’s separation of

powers; is arbitrary and capricious under the APA; and violates the APA’s notice-and-comment

rulemaking requirements. USCCB therefore is highly likely to succeed on the merits. Chef Time,

646 F. Supp. 3d at 109.

       A. The Refugee Funding Suspension Violates Appropriations-Related Statutes,
          Undermining The Separation Of Powers

       The Constitution vests the power of the purse in Congress. The Appropriations Clause and

Article I ensure “that public funds will be spent according to the letter of the difficult judgments

reached by Congress as to the common good and not according to the individual favor of Govern-

ment agents.” Off. of Pers. Mgmt. v. Richmond, 496 U.S. 414, 427–28 (1990) (emphasis added).

“If it were otherwise, the executive would possess an unbounded power over the public purse of

the nation; and might apply all its moneyed resources at his pleasure.” Id. at 427 (quoting Joseph

Story, 2 Commentaries on the Constitution of the United States § 1348 (3d ed. 1858)).

       Those principles apply with equal force when the Executive Branch refuses to spend money

that Congress has appropriated for specific purposes. The “practical effect” of Executive im-

poundments is to unilaterally negate appropriations statutes, contravening the “‘finely wrought’

procedure that the Framers designed” for the enactment or repeal of a law. Clinton v. City of New

York, 524 U.S. 417, 438, 440 (1998) (quoting INS v. Chadha, 462 U.S. 919, 951 (1983)). That is

why “where previously appropriated money is available for an agency to perform a statutorily




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mandated activity,” there is “no basis for a court to excuse the agency from that statutory mandate.”

In re Aiken County, 725 F.3d 255, 260 (D.C. Cir. 2013).

       When the Executive Branch ignores Congress’s instructions with respect to appropriations,

it arrogates to itself Congress’s power of the purse. That threatens to concentrate “power in the

hands of a single branch” at grave risk to individual liberty, which is “always at stake when one or

more of the branches seek to transgress the separation of powers.” Clinton, 524 U.S. at 450 (Ken-

nedy, J., concurring). The Executive’s power therefore is at its “lowest ebb” when it defies Con-

gress’s appropriations laws. Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 637 (1952)

(Jackson, J., concurring).

       Here, Congress has imposed (with the President’s assent) two independent restrictions on

the Executive Branch’s ability to suspend funding for refugee resettlement: First, it has enacted a

statute mandating that the government spend available appropriations on certain forms of assis-

tance for refugees that it has admitted into the United States; and, second, it has enacted the Im-

poundment Control Act, which permits the Executive Branch to defer spending appropriated funds

only after complying with specific procedures and only for particular reasons. The government

has defied both of those congressional commands.

       The Immigration and Nationality Act. The Refugee Funding Suspension contravenes

Congress’s command that in administering the initial-resettlement program, the government must

promptly provide certain services to admitted refugees. The Immigration and Nationality Act, as

amended by the Refugee Act of 1980, provides that once the Secretary has begun “providing as-

sistance” to refugees by resettling them in the United States and placing them in the care of a non-

governmental entity like USCCB, the Secretary must provide funding to those refugees “to the

extent of available appropriations.” 8 U.S.C. § 1522(a)(1)(A). Among other things, the Secretary



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“shall” make available “as quickly as possible” “sufficient resources for employment training” and

for “sufficient English language training.” Id. (emphasis added).

       Here, the government has chosen to enter into cooperative agreements and thus to

“provid[e] assistance” to admitted refugees. 8 U.S.C. § 1522(a)(1)(A). At the time of the Refugee

Funding Suspension, it had assigned almost 7,000 refugees to USCCB who had been in the United

States for ninety days or less. The government therefore has an obligation to make available fund-

ing for resettling those refugees “as quickly as possible” and “to the extent of available appropri-

ations.” Id.

       The government has made no suggestion that the funds Congress appropriated to support

this program have been exhausted. Last year alone, Congress appropriated $3.9 billion to the State

Department for, among other things, “migration and refugee assistance.” Department of State,

Foreign Operations, and Related Programs Appropriations Act, 138 Stat. at 744; see also Addi-

tional Afghanistan Supplemental Appropriations Act, 2022, 135 Stat. at 375 (appropriating an ad-

ditional $976,100,000 for special immigrant visa holders from Afghanistan, among other things).

Yet the government, through the Refugee Funding Suspension, is indefinitely refusing to spend

that money, even though Congress has commanded that it do so for statutorily mandated pur-

poses—including providing employment and English training to refugees already placed with

USCCB. See 8 U.S.C. § 1522(a)(1)(A). The government instead has left USCCB and its assigned

refugees to fend for themselves. The government simply does not have “discretionary control over

the outlay of funds” that Congress not only has appropriated for specific purposes but also man-

dated that the government spend for those same purposes. Train v. City of New York, 420 U.S. 35,

45 (1975).




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       The Impoundment Control Act. The Refugee Funding Suspension is independently un-

lawful because it violates the Impoundment Control Act. That Act limits the authority of the Ex-

ecutive Branch “to defer any budget authority provided for a specific purpose or project.” 2 U.S.C.

§ 684(a). It defines a “deferral of budget authority” broadly to include “withholding or delaying

the obligation or expenditure of budget authority . . . provided for projects or activities,” or “any

other type of Executive action or inaction which effectively precludes the obligation or expenditure

of budget authority.” Id. § 682(1) (emphases added); see Matter of Henry M. Jackson, U.S. Senate,

B-200685, 1980 WL 14499, at *1 (Comp. Gen. Dec. 23, 1980) (“[A]ny executive branch action

or inaction whether based on programmatic, budgetary, or other factors, is potentially subject to

the Impoundment Control Act if it precludes or delays, the use of budget authority.”).

       Here, the Refugee Funding Suspension effects a “deferral of budget authority” within the

meaning of the Impoundment Control Act. The suspension indefinitely halts the disbursement of

millions in funds that Congress appropriated to the government for refugee assistance and the

government committed to expending through cooperative agreements with USCCB. Despite Con-

gress’s specific appropriation of funds for refugee assistance, the government seeks categorically

not to spend those funds indefinitely. That is unquestionably a “dela[y]” in the “expenditure of

budget authority” or an “action” that “effectively precludes the . . . expenditure of budget author-

ity” under the Impoundment Control Act. 2 U.S.C. § 682(1); see also New York v. Trump, 2025

WL 357368, at *2–3 (D.R.I. Jan. 31, 2025) (holding, in APA suit, that Executive’s indefinite pause

of all federal financial assistance likely violates the Impoundment Control Act).

       The Refugee Funding Suspension’s deferral of budget authority violates the Impoundment

Control Act’s procedural requirements by ignoring them altogether. The Act provides that if the

government intends to defer spending money that it has been appropriated, “the President shall



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transmit” a special message to Congress specifying, among other things, how much budget author-

ity he wishes to defer and for how long, the specific projects or governmental functions involved,

his reasons and legal authority for doing so, and the “fiscal, economic, and budgetary effect of the

proposed deferral.” 2 U.S.C. § 684(a). But here, there is no indication the President has transmit-

ted to Congress any special message explaining and justifying the Refugee Funding Suspension.

       The Refugee Funding Suspension also runs afoul of the Act’s substantive limitations. The

Act provides that “[d]eferrals shall be permissible only” to “(1) provide for contingencies; (2) to

achieve savings made possible by or through changes in requirements or greater efficiency of op-

erations; or (3) as specifically provided by law.” 2 U.S.C. § 684(b) (emphasis added). “No officer

or employee of the United States may defer any budget authority for any other purpose”—includ-

ing based on policy disagreements. Id. As the D.C. Circuit has explained, the “President some-

times has policy reasons (as distinct from constitutional reasons) . . . for wanting to spend less than

the full amount appropriated by Congress for a particular program.” In re Aiken County, 725 F.3d

at 261, n.1. “But in those circumstances, even the President does not have unilateral authority to

refuse to spend the funds.” Id. “Instead, the President must propose the rescission of funds,” under

the Impoundment Control Act, “and Congress then may decide whether to approve a rescission

bill.” Id.; see also City of New Haven v. United States, 809 F.2d 900, 901 (D.C. Cir. 1987) (“pol-

icy” deferrals “are ordinarily intended to negate the will of Congress by substituting the fiscal

policies of the Executive Branch for those established by the enactment of budget legislation”).

       The Refugee Funding Suspension is an impermissible policy-based deferral. The suspen-

sion letter USCCB received states that the government is deferring spending because the awards

“may no longer effectuate agency priorities.” Ex. C, Suspension Letter, supra. To the extent that




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rationale has any discernable meaning at all, it expresses nothing more than a pure policy disa-

greement—indeed, merely a potential policy disagreement. As the D.C. Circuit has recognized,

such policy disagreements fall outside the Act’s three enumerated categories of permissible defer-

rals. 2 U.S.C. § 684(b)(1)–(3); see In re Aiken County, 725 F.3d at 261, n.1 (“[I]n those circum-

stances, even the President does not have unilateral authority to refuse to spend the funds.”).

       The government has argued in other cases that the Impoundment Control Act can be en-

forced exclusively by the Comptroller General, who is “empowered” to sue for violations of the

Act. 2 U.S.C. § 687. But the existence of that remedy—which does not purport to be exclusive—

does not supply the “clear and convincing evidence of congressional intent” needed to overcome

the “well-settled presumption” of judicial review under the APA. Make The Rd. New York v. Wolf,

962 F.3d 612, 624 (D.C. Cir. 2020) (quotation marks omitted). The government has relied pri-

marily on a forty-year-old district court decision, Public Citizen v. Stockman, 528 F. Supp. 824,

830 n.1 (D.D.C. 1981), which applied a rigid version of the zone-of-interests test that the Supreme

Court has since held is “not especially demanding,” Lexmark Int’l, Inc. v. Static Control Compo-

nents, Inc., 572 U.S. 118, 129–32 (2014) (quotation marks omitted). And a more recent district

court decision has enforced the Act’s requirements in an APA suit. New York, 2025 WL 357368,

at *2. This Court should do so as well.

       B. The Refugee Funding Suspension Is Arbitrary And Capricious

       The APA requires agency action to be “reasonable and reasonably explained.” Ohio v.

Env’t Prot. Agency, 603 U.S. 279, 292 (2024) (quotation marks omitted). Agency action is arbi-

trary and capricious “if the agency has relied on factors which Congress has not intended it to

consider, entirely failed to consider an important aspect of the problem, offered an explanation for

its decision that runs counter to the evidence before the agency, or is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs.
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Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); see also, e.g.,

Clark County v. Fed. Aviation Admin., 522 F.3d 437, 441 (D.C. Cir. 2008) (applying the reasoned

decision-making requirement to an informal adjudication). Among the most important factors that

an agency must consider are “serious reliance interests” engendered by its prior policies and sig-

nificant alternatives to its chosen course of action. Dep’t of Homeland Sec. v. Regents of the Univ.

of Cal., 591 U.S. 1, 30 (2020) (reliance interests); Allied Local & Reg’l Mfrs. Caucus v. Env’t Prot.

Agency, 215 F.3d 61, 80 (D.C. Cir. 2000) (alternatives).

           The Refugee Funding Suspension is a textbook arbitrary-and-capricious agency action.

The government utterly failed to consider the dire consequences of its actions and an obvious,

superior alternative; it gave no reasoned explanation for its decisions; and it ignored its own regu-

lations.

           First, the government “entirely failed to consider . . . important aspect[s] of the problem.”

State Farm, 463 U.S. at 43. Most glaringly, the government did not account for the obvious and

serious consequences that an immediate funding suspension would have on award recipients like

USCCB, its subrecipients, and individual refugees—including irreparable damage to USCCB’s

reputation, relationships, and mission, and to refugees who may lose essential services and training

during the critical first months of their resettlement periods. See Decl. ¶ 22. The government

made no effort whatsoever to identify (let alone weigh) the costs and benefits of its blunderbuss

Refugee Funding Suspension—and tellingly could provide no explanation even after USCCB

raised these issues with PRM post suspension.

           In so failing, the government also ignored the substantial, reasonable reliance interests im-

periled by a sudden suspension of refugee-assistance awards. Regents, 591 U.S. at 30 (“When an

agency changes course . . . it must be cognizant that longstanding policies may have engendered



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serious reliance interests that must be taken into account.” (quotation marks omitted)); see also

Fed. Commc’ns Comm’n v. Fox Television Stations, Inc., 556 U.S. 502, 515–16 (2009). For dec-

ades, USCCB has reasonably relied on awards from the government under the terms of its coop-

erative agreements. USCCB has entered into agreements with and received reimbursement from

the government every year since 1980, and never—until the Refugee Funding Suspension—has

the government halted funding mid-agreement. USCCB has fulfilled its obligations under the

agreements to provide high-quality, essential resettlement assistance to hundreds of thousands of

refugees, and it reasonably expects in return, based on past experience and the terms of the agree-

ments, that the government will meet its statutory funding obligations.

       By abruptly cutting off funding without notice, the government predictably eviscerated

USCCB’s serious reliance interests. USCCB has about $13 million (and growing) of unreim-

bursed costs that it incurred prior to the Refugee Funding Suspension in reliance on its cooperative

agreements and owes an additional $11.6 million to its subrecipients for services rendered. Decl.

¶ 16. Because of the Refugee Funding Suspension, USCCB on February 7 had no choice but to

notify 50 employees—more than half of its refugee-resettlement staff—of impending termination,

all of whom relied on continued funding pursuant to its cooperative agreements. Id. ¶ 17. More-

over, USCCB already has had to stop reimbursing its subrecipients providing direct services to

refugees, causing those organizations to go unpaid despite their reliance on the State Department’s

compliance with its funding obligations. And most disheartening, lawfully admitted refugees who

resettled in this country relying on the government’s promise to aid their integration may soon lose

the essential services provided to them by USCCB and its subrecipients.

       The APA “required” the government—before taking action—“to assess whether there were

reliance interests, determine whether they were significant, and weigh any such interests against



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competing policy concerns.” Regents, 591 U.S. at 33. As one court in this District recently con-

cluded in a case addressing a separate funding suspension under the Foreign Aid Executive Order,

the government’s “implementation of the blanket suspension is likely arbitrary and capricious

given the apparent failure to consider immense reliance interests, including among businesses and

other organizations across the country.” AIDS Vaccine Advoc. Coal. v. Dep’t of State, --- F. Supp.

3d ---, 2025 WL 485324, at *5 (D.D.C. Feb. 13, 2025). So too here.

       The government also failed to consider an obvious, less disruptive “alternative way of

achieving [its] objectives,” State Farm, 463 U.S. at 48—namely, conducting a review of its out-

standing cooperative agreements to ensure their compliance with agency priorities before halting

funds to active awardees. The government has “not offered any explanation for why a blanket

suspension of all congressionally appropriated foreign aid, which set off a shockwave and upended

reliance interests for thousands of businesses, nonprofits, and organizations around the country,

was a rational precursor to reviewing programs.” AIDS Vaccine Advoc. Coal., 2025 WL 485324,

at *5. That glaring failure also dooms the Refugee Funding Suspension. Yakima Valley Cablevi-

sion, Inc. v. Fed. Commc’ns Comm’n, 794 F.2d 737, 746 n.36 (D.C. Cir. 1986) (“The failure of an

agency to consider obvious alternatives has led uniformly to reversal.”).

       Second, the Refugee Funding Suspension is arbitrary and capricious because the reasons

the government did provide are manifestly inadequate.

       The government’s first rationale for the Refugee Funding Suspension was that it is “[c]on-

sistent with” the President’s Foreign Aid Executive Order. But the Foreign Aid Executive Order

applies only to “foreign assistance.” “Foreign assistance,” whatever its meaning, cannot plausibly

include awards to an American non-profit for refugees in the United States. Cf. 22 U.S.C.




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§ 2394(b) (“foreign assistance” means aid provided “to a foreign country or international organi-

zation”). That is particularly so because the statute under which the government provides funding

to USCCB refers to awards for refugee resettlement as “domestic assistance.”              8 U.S.C.

§ 1522(a)(3) (emphasis added). At a minimum, the government made no effort to explain how

USCCB’s activities constitute “foreign assistance” or how the Refugee Funding Suspension oth-

erwise would be “consistent with” the Foreign Aid Executive Order.

       Nor could the Foreign Aid Executive Order (or the follow-on Rubio Memo) save the gov-

ernment’s funding suspension even if they applied here. The Foreign Aid Executive Order cannot

relieve the government of its statutorily imposed funding obligations because “an executive order

cannot supersede a statute.” Marks v. Cent. Intel. Agency, 590 F.2d 997, 1003 (D.C. Cir. 1978).

And in any event, the Foreign Aid Executive Order and the Rubio Memo likewise fail to provide

any reasoned explanation and evince no consideration of critical aspects of the problem or obvious,

superior alternatives—which is why the government has been temporarily enjoined from enforcing

them in another case. See AIDS Vaccine Advoc. Coal., 2025 WL 485324, at *5.

       The government’s second rationale for the Refugee Funding Suspension fares no better.

The government stated that USCCB’s cooperative agreements “may no longer effectuate agency

priorities,” but it did not explain what those priorities are. Ex. C, Suspension Letter, supra. More

problematic, the government did not explain why its agreements with USCCB may no longer ef-

fectuate those priorities—a particularly glaring omission given that the government has continu-

ously funded USCCB’s refugee programs for decades. It is a basic precept of administrative law

that “conclusory statements” like these “do not meet the requirement that ‘the agency adequately

explain its result.’” Dickson v. Sec’y of Def., 68 F.3d 1396, 1407 (D.C. Cir. 1995).




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       The government also failed to provide any explanation for its unwritten suspension of re-

imbursements for pre-January 24 expenses incurred pursuant to USCCB’s cooperative agree-

ments. It simply stopped reimbursing these expenses even though the written suspension letter

that USCCB received contemplates their reimbursement.

       Under bedrock administrative-law principles, the government cannot now come to this

Court and offer additional justifications for the Refugee Funding Suspension. Sec. & Exch.

Comm’n v. Chenery Corp., 318 U.S. 80, 88–90 (1943). Rather, the government is limited to the

reasons it has already provided, and those rationales simply do not pass muster under the APA.

       Third, in issuing the Refugee Funding Suspension, the government also ignored its own

regulations. “[A]n agency action may [also] be set aside as arbitrary and capricious if the agency

fails to comply with its own regulations.” Nat’l Env’t Dev. Ass’n’s Clean Air Project v. Env’t

Prot. Agency, 752 F.3d 999, 1009 (D.C. Cir. 2014) (quotation marks omitted). The State Depart-

ment has a regulation providing that “[p]ayments for allowable costs [incurred under a Federal

award] must not be withheld . . . unless required by Federal statute, regulations, or” if the “recipient

or subrecipient has failed to comply with the terms and conditions of the Federal award” or is

“delinquent in a debt.” 2 C.F.R. § 200.305(b)(6) (incorporated by reference into the State Depart-

ment’s federal award regulations at 2 C.F.R. § 600.101).

       Here, no statute or regulation requires the payments to USCCB to be withheld, and the

government has not asserted that USCCB has failed to comply with the terms of the award or is

delinquent in a debt. And even if the Refugee Funding Suspension theoretically allows reimburse-

ments for “legitimate expenses” incurred prior to January 24, as the suspension letter stated, the




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Department has in fact effectuated an unwritten policy of refusing to reimburse even those “allow-

able costs.” 2 C.F.R. § 200.305(b)(6). The government’s departure from its own regulations,

without explanation, independently violates the APA.

       C. The Refugee Funding Suspension Violates The APA’s Notice-And-Comment
          Requirements

       The Refugee Funding Suspension is also a substantive rule issued without the notice-and-

comment procedures required by the APA. Before issuing a “substantive rule,” the APA com-

mands agencies to publish a “[g]eneral notice of proposed rule making” and “give interested per-

sons an opportunity to participate in the rule making.” 5 U.S.C. § 553. An agency’s failure to do

so requires setting aside the agency’s resulting action. See Kooritzky v. Reich, 17 F.3d 1509, 1514

(D.C. Cir. 1994).

       The Refugee Funding Suspension is a substantive rule because it “alter[s] the rights or

interests of parties.” Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 250 (D.C. Cir. 2014) (quota-

tion marks omitted). Far from merely putting the public “on notice of pre-existing legal obligations

or rights” or adjudicating an individual’s rights “case-by-case” under pre-existing law, the Refugee

Funding Suspension has the legal effect of prospectively altering the rights of refugees and reset-

tlement organizations like USCCB to receive funding. Nat. Res. Def. Council v. Wheeler, 955

F.3d 68, 83, 85 (D.C. Cir. 2020). The government therefore was required to provide public notice

and an opportunity for comment before implementing this significant, prospective change. Its

failure to do so also violates the APA.

                                          *      *       *

       The Refugee Funding Suspension is unlawful for numerous independent reasons, any one

of which would require it to be enjoined. USCCB thus has established a likelihood of success on

the merits of its challenge to the suspension.


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II.    USCCB Is Suffering And Will Continue To Suffer Irreparable Injury

       USCCB is suffering serious and ongoing irreparable harm as a direct result of the Refugee

Funding Suspension. Irreparable harm is an imminent injury that is “‘both certain and great’” and

is “beyond remediation” through money damages. Chaplaincy of Full Gospel Churches v. Eng-

land, 454 F.3d 290, 297 (D.C. Cir. 2006); see also Beattie v. Barnhart, 663 F. Supp. 2d 5, 9 (D.D.C.

2009). The massive, unexpected, and continually accruing costs inflicted on USCCB as a direct

result of the Refugee Funding Suspension have caused layoffs and reputational harm that put

USCCB’s entire refugee-resettlement program at risk—injuries that compound every day the sus-

pension remains in effect. Decl. ¶¶ 17, 19–20.

       To date, USCCB and its subrecipients have accrued approximately $13 million in unpaid

expenses for services provided to refugees under USCCB’s existing cooperative agreements. Ad-

ditional unpaid expenses continue to accrue by millions of dollars a week. As a result, USCCB’s

Migration & Refugees Services office already has been forced to notice terminations for 50 staff

members—more than half of its resettlement staff. Decl. ¶ 17. And if the Refugee Funding Sus-

pension remains in effect, USCCB likely will need to lay off additional employees. Id. USCCB

also has been forced to refuse its subrecipients’ reimbursement requests, totaling nearly $11.6 mil-

lion, which has caused the subrecipients in turn to cut staff. Id. ¶ 16. The remaining staff are being

strained to provide necessary services to refugees that the government has assigned to USCCB.

Id. ¶¶ 19, 22. If the funding suspension continues, USCCB and its subrecipients will not be able

to continue meeting the needs of the refugees assigned to them. Id. None of these harms are

“based upon expectations of receiving future grants or aid” but rather “upon expectations set in

existing [cooperative agreements] with” the government. AIDS Vaccine Advoc. Coal., 2025 WL

485324, at *2 (emphasis added).



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       USCCB’s compounding injuries cannot be remedied by money damages after the fact.

USCCB may never be able to replace the skills and expertise of staff who have departed and may

soon depart. Decl. ¶ 17; see also AIDS Vaccine Advoc. Coal., 2025 WL 485324, at *3 (finding

plaintiffs’ significant layoffs to constitute irreparable harm). USCCB’s staff have “valuable accu-

mulated experience” with USCCB’s programs, its subrecipients, its partnership with PRM, and

the refugee communities that USCCB serves. Id. ¶ 17. Once they depart, they may not be able to

wait for a decision on the merits in this case before moving on to future employment. Their inval-

uable expertise thus might be permanently lost to USCCB.

       USCCB is also suffering serious reputational harm. Decl. ¶ 20. Over decades, USCCB

has developed a reputation as a trusted employer and resettlement partner. Id. The Refugee Fund-

ing Suspension, by making it impossible for USCCB to pay its employees and partners, damages

USCCB’s hard-earned good will and makes it more difficult for USCCB to find employees and

subrecipient partners in the future. Id. That independently constitutes ongoing irreparable harm.

See, e.g., Human Touch DC, Inc. v. Merriweather, 2015 WL 12564166, at *5 (D.D.C. May 26,

2015) (finding irreparable harm based on damage to business reputation and patient relationships);

Otero Sav. & Loan Ass’n v. Fed. Rsrv. Bank of Kansas City, 665 F.2d 275, 278 (10th Cir. 1981)

(finding irreparable harm based on “interrupt[ing] services” to thousands of customers and the

consequent “severe confusion of processes and loss of good will and customer confidence” (quo-

tation marks omitted)).

       Taken together, moreover, these “obstacles unquestionably make it more difficult for

[USCCB’s Migration & Refugee Services] to accomplish [its] primary mission” of aiding refugees

through its resettlement program—a separate form of “irreparable harm.” League of Women Vot-

ers of the U.S. v. Newby, 838 F.3d 1, 9 (D.C. Cir. 2016); see also AIDS Vaccine Advoc. Coal.,



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2025 WL 485324, at *3 (finding that the funding suspension caused irreparable harm because it

“undermined [plaintiffs’] core missions and jeopardized vital services to vulnerable populations”);

Whitman-Walker Clinic, Inc. v. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 57–58 (D.D.C.

2020) (finding irreparable harm based on “significant financial and operational harms” that threat-

ened the plaintiffs’ “ability to deliver timely and effective” services to the constituencies they

served); Caron Found. of Fla., Inc. v. City of Delray Beach, 879 F. Supp. 2d 1353, 1373 (S.D. Fla.

2012) (“Frustration of a rehabilitation provider’s mission can cause irreparable harm.”).

       These harms also “threaten the very existence of” USCCB’s refugee-resettlement pro-

grams. Lee v. Christian Coal. of Am., Inc., 160 F. Supp. 2d 14, 31 (D.D.C. 2001) (citing Wis. Gas

Co. v. Fed. Energy Regul. Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985)); accord AIDS Vaccine

Advoc. Coal., 2025 WL 485324, at *4. Although USCCB previously has scaled its initial resettle-

ment services up and down to match federal funding levels, those prior changes were planned and

orderly and allowed USCCB to adjust its program without disrupting its business relationships or

harming its reputation as a reliable partner with its subrecipients. Decl. ¶ 21. The Refugee Fund-

ing Suspension is fundamentally different. If the government can indefinitely suspend, without

notice, almost the entirety of USCCB’s budget for refugee resettlement—and refuse even to reim-

burse USCCB for expenses already incurred—it will become untenable for USCCB and its part-

ners to continue serving refugees through this program. See id. ¶¶ 19, 21. And once shuttered, the

program may never fully recover. Id.

       Were there any doubt, the government recently conceded in another case involving a fund-

ing suspension that the categories of harms USCCB is suffering “are types of harm that are appro-

priately considered in the irreparable harm inquiry.” AIDS Vaccine Advoc. Coal., 2025 WL




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485324, at *3. USCCB, like plaintiffs in that case, thus has made “a strong preliminary showing

of irreparable harm.” Id. at *4.

III.    The Balance Of The Equities And The Public Interest Favor Granting Relief

        The balance of the equities and the public interest also strongly favor granting a temporary

restraining order. To start, “there is a substantial public interest in having government agencies

abide by the federal laws—such as the APA”—and “[t]here is generally no public interest in the

perpetuation of unlawful agency action.” Open Cmtys. All. v. Carson, 286 F. Supp. 3d 148, 179

(D.D.C. 2017) (quotation marks omitted). Thus, for all the same reasons that USCCB is likely

to prevail on the merits, equity and the public interest favor relief.

        In addition, as discussed, the Refugee Funding Suspension is causing widespread harm to

USCCB, its employees, and its subrecipients and their employees—and it endangers the essential

services they provide to some of the most vulnerable members of American society.

        The infliction of that harm is highly inequitable. It is unfair for the government to assign

USCCB nearly 7,000 refugees and impose contractual and moral obligations on USCCB to pro-

vide essential services to those refugees, only to suddenly and indefinitely suspend the millions

of dollars in funding needed to provide those services. Nor is it fair to the refugees in USCCB’s

care. Those refugees are scattered throughout the country in different communities, and many

do not speak English, are resettling with families, and face significant risk of poverty and home-

lessness without continued funding. And many of them relied on the promises of initial-resettle-

ment services in making the decision to resettle in the United States. Thousands of refugees, like

Azizullah Areiyaee, currently rely on the continuing support of USCCB and its local partners.

See generally Declaration of Azizullah Areiyaee In Support of Plaintiff’s Motion For Temporary




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Restraining Order. Azizullah and his family left all they had when they fled Afghanistan in De-

cember 2021. Id. ¶¶ 5–6. They received special immigrant visas and arrived in the United States

in December 2024. Id. ¶ 7. When they did, USCCB’s partner, Catholic Charities, ensured they

had shelter and food for their immediate needs, as USCCB’s cooperative agreements require. Id.

¶ 7–9. Catholic Charities enabled Azizullah to obtain an apartment lease, enroll his children in

school, and successfully apply for a job. Id. ¶¶ 9–11. The organization also continues to support

his resettlement by providing English and other professional skills classes. Id. ¶ 12. When

USCCB’s partners’ own funds inevitably evaporate as the suspension continues, they will be

unable to assist refugees like Azizullah at their moments of greatest need.

       Continued funding for services that USCCB provides, by contrast, is equitable and con-

sistent with the public interest. That is evident in Congress’s enactment of multiple federal stat-

utes and decades-worth of significant appropriations providing for refugee resettlement. Cf. Hu-

man Touch DC, 2015 WL 12564166, at *5 (“Congress’ passage of HIPAA . . . reflects this public

interest” in maintaining the privacy of that information). And the results bear out Congress’s

judgment. For decades, USCCB’s services have successfully integrated refugees into communi-

ties and enabled refugees to be self-sufficient. When so integrated, refugees have a significant,

positive impact on society and the U.S. economy: From 2005 to 2019, for example, refugees

served by HHS’s Office of Refugee Resettlement yielded a net positive fiscal impact of

$123.8 billion and generated $581 billion for state and federal governments. See Off. of Assistant

Sec’y for Plan. & Evaluation, U.S. Dep’t of Health & Hum. Servs., The Fiscal Impact of Refugees

and Asylees at the Federal, State, and Local Levels from 2005 to 2019, at 4 (Feb. 2024),

https://perma.cc/Y95E-QLWS.




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       The balance of the equities and the public interest thus strongly favor requiring the gov-

ernment to continue to provide funding for the thousands of refugees in USCCB’s care.

IV.    The Court Should Enjoin Enforcement Of The Refugee Funding Suspension And
       Compel Defendants To Resume Reimbursements

       The Refugee Funding Suspension is unlawful, is causing USCCB irreparable harm, and

the equities and public interest favor relief. This Court therefore should grant a temporary re-

straining order enjoining the government from taking any action to enforce or implement against

USCCB the Refugee Funding Suspension, including the suspension letter and the suspension of

payments for pre-January 24 expenses (and, to the extent applicable, the Foreign Aid Executive

Order and the Rubio Memo). In doing so, the Court should make clear that the government must

promptly reimburse all costs that USCCB has incurred or will incur under the terms of its coop-

erative agreements. The government has a statutory obligation to make those payments, which

also have been “unlawfully withheld” or “unreasonably delayed” as a result of the unlawful fund-

ing suspension. 5 U.S.C. § 706. Holding the government to its payment obligations is the only

way “to preserve status or rights pending conclusion of the review proceedings” given the irrep-

arable harm that the government’s actions are causing USCCB. Id. § 705; see also 28 U.S.C.

§ 1651(a). Ordering prompt reimbursements is also appropriate to ensure that the government

does not tacitly continue its funding suspension by withholding reimbursements, as the govern-

ment has done with respect to USCCB’s pre-January 24 expenses.

       Give the significant, ongoing irreparable harm to USCCB, its partners, and refugees,

USCCB respectfully requests that this Court “expedite the consideration of” its motion for “good

cause . . . shown.” 28 U.S.C. § 1657(a). There is good cause to provide expedited consideration

when the effectiveness of the requested relief depends on it being granted quickly. See, e.g.,

Virginians Against Corrupt Congress v. Moran, 1992 WL 321508, at *1–2 (D.D.C. Oct. 21,


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1992) (granting hearing as soon as allowed under the Federal Rules where plaintiff needed relief

against allegedly unlawful election mailings before Election Day). Here, USCCB seeks relief to

redress grave ongoing injuries caused by the Refugee Funding Suspension, including layoffs that

will become effective within the next several weeks, reputational damage as USCCB’s resettle-

ment partners go unreimbursed, and the looming possibility that refugees already in the United

States will be cut off from essential services. USCCB attempted for weeks to obtain reimburse-

ment from the government but now has been forced to seek judicial relief because of its growing

injuries and the likelihood of additional harm around the corner. The near-certainty of additional

irreparable injury here is “good cause” for expedited relief. 28 U.S.C. § 1657(a).




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                                    CONCLUSION

    This Court should grant USCCB’s motion for a temporary restraining order.


February 19, 2025                              Respectfully submitted,

                                               /s/ David W. Casazza

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